   Case 1:11-cr-00151-RJA-HKS         Document 164    Filed 11/14/12      Page 1 of 13




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                      Plaintiff,
                      v.                                     11-CR-0151A

EFRAIN HIDALGO, et al.,

                Defendants.
_____________________________________


                                   DECISION AND ORDER

             The government has filed a motion wherein it seeks an order from this

Court authorizing the taking of DNA “buccal swabs from the cheek of” all of the

defendants except David Tirado for the purpose of comparing each “defendant’s DNA

to any DNA sample obtained from the firearms, ammunition, narcotics packaging,

paraphernalia, and evidence left at the scenes of various homicides and attempted

murders alleged in the Superseding Indictment.” Dkt. #146, p. 11, ¶ 21.



             The defendants Efrain Hidalgo, Luis Medina, Sammy Ortiz and Esteban

Ramos-Cruz have filed responses in opposition to the government’s motion. Dkt. #s

151, 152, 153, 154.
   Case 1:11-cr-00151-RJA-HKS        Document 164       Filed 11/14/12        Page 2 of 13




                                         FACTS1

             On August 11, 2009, a shotgun shell was found at the scene of the

homicide of Eric Morrow along with spent .22 caliber casings.



             On August 17, 2009, members of the City of Buffalo Police Department

“recovered a loaded Savage Arms, Stevens Model 820 B pump action shotgun while at

the premises located at 82 Virginia, Buffalo, New York. Present in the premises at the

time were the defendants Efrain Hidalgo, Esteban Ramos-Cruz and Jordan Hidalgo.



             On January 25, 2011, law enforcement officers executed a search warrant

for the search of the premises located at 297 West Utica Street, Buffalo, New York and

seized the following items:


             (1)    a grinder with heroin residue;

             (2)    12 boxes of .223 caliber ammunition and 7 loose rounds;

             (3)    A live .22 caliber round and a .22 caliber rifle with a
                    sawed-off stock;

             (4)    numerous plastic baggies;

             (5)    a live .357 round ammunition;

             (6)    two live rounds of .32 caliber ammunition;

             (7)    a Winchester .30 caliber rifle;



      1
          The facts are taken from the affidavit of AUSA Tripi, sworn to September 10,
2012 (Dkt. #146), in support of the government’s motion and from the allegations set
forth in the Superseding Indictment (Dkt. #87).

                                           -2-
   Case 1:11-cr-00151-RJA-HKS        Document 164          Filed 11/14/12   Page 3 of 13




             (8)    a digital scale with heroin residue;

             (9)    a rent reminder to “Richie and Tom;”

             (10)   NYS benefits cards for Efrain Hidalgo and Wendy Hidalgo;

             (11)   a NYS birth certificate for Efrain Hidalgo.


At the time of the search at 297 West Utica, the defendant Thomas Rodriguez was

present and arrested by law enforcement.



             A 23 gauge shotgun shell was test fired from the Savage Arms, Stevens

Model 820 B pump action shotgun and then microscopically examined and compared to

the 12 gauge shotgun shell case recovered on August 11, 2009 at the scene of the

homicide of Eric Morrow by Erie County Central Police Services (“ECCPS”) Firearms

Examiner Stuart Easter who concluded that the 12 gauge shotgun shell recovered on

August 11, 2009 had been fired from the Savage Arms, Stevens Model 820 B pump

action shotgun.



             Forensic Serologist Paul Hojnacki of the ECCPS Forensic Laboratory

obtained a DNA sample from the Savage Arms, Stevens Model 820 B pump action

shotgun and determined that it was a “mixture of DNA from at least three unknown

individuals, at least one of whom was a male individual. A one-time search of the

laboratory’s Local DNA Databank was performed on the DNA profile obtained from the

swab of the shortened shotgun. No matching DNA profiles were found. The DNA

profile is not suitable for entry into CODIS. Known samples are required for further


                                           -3-
   Case 1:11-cr-00151-RJA-HKS        Document 164       Filed 11/14/12    Page 4 of 13




comparison.” Dkt. #146-2, Exhibit B.



              The .22 caliber semi automatic rifle and the Winchester .30 caliber rifle

seized from 297 West Utica on January 25, 2011 were examined in the ECCPS

Forensic Laboratory and DNA profiles were obtained from both rifles. Michelle Stratton,

Forensic Biologist II, determined that one of the rifles contained “a mixture of DNA from

at least four unknown individuals. The major DNA profile is that of an unknown male

individual and was entered into CODIS Local (Local DNA Databank). Known buccal

specimens are required for further comparison. Dkt. #146-5, Exhibit E.



              Ms. Stratton also determined that the other rifle contained “a mixture of

DNA from at least three unknown individuals, including at least one male individual. A

one time search of the laboratory’s Local DNA Databank was performed on the DNA

profile obtained from the swab of the rifle (Item #5.1). No matching DNA profiles were

found . . . . Known buccal specimens are required for further comparison.” Dkt. #146-

5, Exhibit 1 E.



                             DISCUSSION AND ANALYSIS

              In addressing the issue of taking bodily physical evidence, the United

States Supreme Court has stated:


              [T]he permissibility of a particular practice “is judged by
              balancing its intrusion on the individual’s Fourth Amendment
              interests against its promotion of legitimate governmental
              interests.” Delaware v. Prouse, 440 U.S. at 654, 99 S.Ct. at

                                           -4-
   Case 1:11-cr-00151-RJA-HKS        Document 164       Filed 11/14/12   Page 5 of 13




             1396; United States v. Martinez-Fuerte, 428 U.S. 543, 96
             S.Ct. 3074, 49 L.Ed.2d 1116 (1976).

             In most criminal cases, we strike this balance in favor of the
             procedures described by the Warrant Clause of the Fourth
             Amendment. See United States v. Place, supra, 462 U.S. at
             701, and n. 2, 103 S.Ct. at 2641 and n. 2; United States v.
             United States District Court, 407 U.S. 297, 315, 92 S.Ct.
             2125, 2135-2136, 32 L.Ed.2d 752 (1972).

Skinner v. Railway Labor Executive’s Association, 489 U.S. 602, 619 (1989).


             When law enforcement officials undertake a search to
             discover evidence of criminal wrongdoing, the Fourth
             Amendment’s requirement of reasonableness generally
             mandates that the officers have both probable cause and a search
             warrant.

United States v. Amerson, 483 F.3d 73, 80 (2d Cir.), cert. denied 552 U.S. 1042 (2007).



             It is obvious that the immediate objective of the government in seeking

buccal swabs from the defendants is to generate evidence for use in its criminal

prosecution of the defendants. Such sample taking constitutes a search within the

meaning of the Fourth Amendment. “The overriding function of the Fourth Amendment

is to protect personal privacy and dignity against unwarranted intrusion by the State.”

Schmerber v. California, 384 U.S. 757, 767 (1966); United States v. Nicolosi, 885

F. Supp. 50, 52 (E.D.N.Y. 1995).



             I find that the taking of a buccal swabs from the inside of the defendants’

mouths is properly viewed as implicating their dignity interests. Because the samples

taken “can provide a significant amount of genetic identity information, a personal


                                           -5-
   Case 1:11-cr-00151-RJA-HKS         Document 164       Filed 11/14/12    Page 6 of 13




privacy interest of the defendants also exists. As a result, compliance with the Fourth

Amendment is mandated; namely, there must be a finding of probable cause to warrant

the taking of such samples. United States v Nicolosi, supra at 55.



              The defendant Efrain Hidalgo, in objecting to the government’s motion,

argues “that the application and supporting exhibits fail to establish reasonable

individualized suspicion that probative evidence will be found. In the alternative, [he]

argues for a limiting order restricting the use of any DNA samples from the defendants

(sic) to comparisons against only the mixed DNA samples obtained from the three

firearms identified in the application.” Dkt. #151, p. 11.



              Both asserted positions of the defendant are without legal merit and are

rejected.



              The grand jury has found probable cause, as alleged in the Superseding

Indictment, to believe that the defendant Efrain Hidalgo, along with defendants Ritchie

Juarbe, Joseph Whitely, Esteban Ramos-Cruz, Jordan Hidalgo and Thomas Rodriguez,

stored heroin and firearms at 82 Virginia Street, Buffalo, New York. Dkt. #87, ¶ 42. He

was present at 82 Virginia Street when the Savage Arms, Stevens Model 820 pump

action shotgun was recovered from that premises on August 17, 2009. The DNA profile

found on this shotgun established that it is “a mixture of DNA from at least three

unknown individuals, including at least one male individual.” Dkt. #146-2, Exhibit B. As

a result, there is a sufficient basis to warrant a finding that probable cause does exist

                                             -6-
   Case 1:11-cr-00151-RJA-HKS         Document 164       Filed 11/14/12    Page 7 of 13




for the ordering of the taking of the buccal samples from him for purposes of comparing

his DNA profile to that obtained from the shotgun on August 17, 2009.



              The grand jury has further found that the defendant Efrain Hidalgo, along

with defendants Ritchie Juarbe and Thomas Rodriguez, possessed firearms, heroin

and drug paraphernalia at 297 West Utica, Buffalo, New York on or about January 25,

2011. Such possession included the .22 caliber semi automatic rifle and the

Winchester .30 caliber rifle from which DNA profiles were obtained. Dkt. #87, ¶s 40,

41. This finding also provides sufficient probable cause for the ordering of the taking of

a buccal sample from him for purposes of comparing such sample to the DNA profiles

found on the two rifles as well as any DNA samples that may be found on the drug

paraphernalia recovered from 297 West Utica, Buffalo, New York.



              The defendant Luis Medina has filed an objection to the government’s

motion asserting that the “application is overly broad . . . for comparison to not only

firearms but also drug and related evidence at issue in this action, even though the

application fails to allege that DNA has been extracted from any such drug and related

evidence.” Dkt. #152, ¶ 18. In sum, he argues that “no individualized reasonable

suspicion has ever been offered in the application as to ‘drug and related evidence’ in

the case and that . . . any approval of the government’s motion should be limited to a

comparison of the defendant’s DNA to only the DNA extracted from the three firearms.”

Dkt. #152, ¶ 18.



                                            -7-
   Case 1:11-cr-00151-RJA-HKS          Document 164       Filed 11/14/12    Page 8 of 13




              This Court disagrees with that argument and therefore rejects it for the

following reasons. The grand jury has found probable cause as alleged in the

Superseding Indictment that Luis Medina, along with other named defendants,

conspired “to distribute, distribution of, and use of premises to distribute, controlled

substances, including cocaine, heroin, and marijuana.” Dkt. #87, Count 1. The grand

jury further found that the defendant Luis Medina, within the time period of the

Superseding Indictment, “possessed with intent to distribute and distributed heroin in

the territory controlled by the Cheko’s Crew/7th Street Gang enterprise” and that he

“possessed firearms in the territory controlled by the Cheko’s Crew/7th Street Gang

enterprise.” Dkt. #87, ¶s 54 and 55.



              These findings by the grand jury warrant a finding that probable cause

does exist for the ordering of the taking of a buccal sample from Luis Medina for

purposes of comparing his DNA profile to those found on the weapons. Since a

“grinder with heroin residue,” along with “numerous plastic baggies” and “a digital scale

with heroin residue” were seized pursuant to a search warrant from 297 West Utica,

Buffalo, New York on January 25, 2011, a location within the alleged “territory controlled

by the Cheko’s Crew/7th Street Gang enterprise,” it is not unreasonable to assume that

DNA profiles might be found on these seizures which could then be compared to the

defendant Luis Medina’s DNA profile.



              The defendant Sammy Ortiz, by his attorney, objects to the taking of a

buccal sample, claiming that “the government has failed to establish a reasonable

                                             -8-
   Case 1:11-cr-00151-RJA-HKS        Document 164       Filed 11/14/12    Page 9 of 13




individualized suspicion that DNA profiles that implicate the defendant exist much less

that any such samples are ones that implicate the defendant.” The defendant also

argues “that the request for DNA samples is also over broad given the specific

allegations of the indictment as to the defendant.” Dkt. #153, ¶ 17.



             This Court disagrees with this argument as well. The grand jury has

expressly found probable cause that the defendant Sammy Ortiz “sometime between

August 11 and August 17, 2009" along with “Efrain Hidalgo, Esteban Ramos-Cruz and

others, while armed with a firearm, sought “rival 10th Street Gang members to shoot and

kill.” Dkt. #87. ¶ 19, p. 20. The grand jury also found probable cause that the

defendant Sammy Ortiz “possessed with intent to distribute and distributed cocaine in

the territory controlled by the Checko’s Crew/7th Street Gang enterprise” and that he

“sold a quantity of cocaine to an individual known to the grand jury on March 20, 2012;”

“sold a quantity of heroin to an individual known to the grand jury on March 21, 2012"

and “on March 30, 2012;” and that he “sold a quantity of cocaine to an individual known

to the grand jury on April 6, 2012.” Dkt. #87, ¶s 53, 57, 58, 59, 60, pp. 29-31. These

findings are sufficient to support a finding of probable cause that the defendant Ortiz

may have possessed the weapons at one time which were recovered from 82 Virginia,

Buffalo, New York on August 17, 2009 and 297 West Utica Street, Buffalo, New York

on January 25, 2011. Further, since the grand jury has found that the defendant Ortiz

was engaged in the possession and distribution of cocaine and heroin, it is reasonable

to assume that DNA samples might be found on the drug paraphernalia seized from



                                           -9-
  Case 1:11-cr-00151-RJA-HKS        Document 164       Filed 11/14/12    Page 10 of 13




297 West Utica, Buffalo, New York which could then be compared to the defendant

Ortiz’s sample of DNA.



             The defendant Esteban Ramos-Cruz, by his attorney, objects to the taking

of a buccal sample by asserting that the government “has made no showing that a

‘reasonable individualized suspicion that probative evidence will be found’ exists

regarding [him].” More specifically, he claims that the “government’s motion makes no

connection between [him] and any ‘narcotics paraphernalia and related evidence’ or the

rifles recovered on January 25, 2011" and that his mere presence at 82 Virginia,

Buffalo, New York when the shotgun was recovered “does not provide an individualized

suspicion regarding [him.” Dkt. #154, p. 2.



             This argument of the defendant Ramos-Cruz ignores the express

probable cause findings of the grand jury wherein it found that he, along with other

named defendants, “obtained firearms for the purpose of killing rival 10th Street Gang

members” on or about “August 11, 2009" and that he and defendant Jordan Hidalgo

“were armed with a .22 caliber semi automatic rifle and a sawed off 12 gauge shotgun

on or about August 11, 2009" and that “on or about August 11, 2009 he and Jordan

Hidalgo and Juan Torres shot and killed rival 10th Street Gang Member Eric Morrow.”

The grand jury further found that “sometime between August 11 and August 17, 2009,

Ramos-Cruz” along with “defendants Sammy Ortiz, Efrain Hidalgo and others, while

armed with a firearm” sought “rival 10th Street Gang members to shoot and kill.” With



                                           -10-
  Case 1:11-cr-00151-RJA-HKS         Document 164       Filed 11/14/12    Page 11 of 13




respect to drug activity, the grand jury found that the defendant Ramos-Cruz was

supplied heroin by Efrain Hidalgo for distribution at 66 Spruce Road, Amherst,

New York during the period August 2009 to October 21, 2009; that he, along with other

named defendants, “stored heroin and firearms at 82 Virginia Street, Buffalo, NY;” that

during the period August 2009 to November 2009, he, along with other named

defendants, “stored firearms, heroin, and prepared heroin for distribution at 216 Schiller

Street, Buffalo, NY.” Dkt. #87, ¶ 16, pp. 19-20, ¶ 18, p. 30, ¶ 19, p. 20, ¶ 26, p. 22,

¶ 42, pp. 26-27, ¶ 43, p. 27. These findings provide probable cause to believe that the

weapons recovered from 82 Virginia Street, Buffalo, New York and 297 West Utica,

Buffalo, New York may contain a DNA Match to Ramos-Cruz’s DNA. The same can be

said for the need to make a DNA comparison to any DNA samples that might be found

on the drug paraphernalia recovered at 297 West Utica on January 25, 2011.



                                      CONCLUSION

              Based on the foregoing, I find that there is sufficient probable cause to

warrant the issuance of an order requiring the defendants Efrain Hidalgo, Luis Medina,

Sammy Ortiz and Esteban Ramos-Cruz to provide a buccal DNA sample to the

government as requested in its motion. Since the other named defendants have not

opposed the government’s motion seeking buccal DNA samples from them, they also

are hereby ordered to provide such a sample as requested by the government in its

motion since the allegations set forth in the Superseding Indictment as to these

defendants provide sufficient probable cause for the taking of such samples.

Therefore, it is hereby

                                            -11-
  Case 1:11-cr-00151-RJA-HKS          Document 164       Filed 11/14/12    Page 12 of 13




              ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and

Order in accordance with the above statute, Fed. R. Crim. P. 58(g)(2) and Local Rule

58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and




                                            -12-
  Case 1:11-cr-00151-RJA-HKS        Document 164      Filed 11/14/12    Page 13 of 13




the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Decision and Order),

may result in the District Judge's refusal to consider the objection.



DATED:       Buffalo, New York
             November 14, 2012

                                         S/ H. Kenneth Schroeder, Jr.
                                         H. KENNETH SCHROEDER, JR.
                                         United States Magistrate Judge




                                          -13-
